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VIN #               Year Make            Model                               Dealer Plates
WBXHT3C57K5L90705   2019 BMW             X1                                    6104546
ZASPAKBN5L7C91095   2020 Alfa Romeo      Stelvio                               6104547
SALYL2RV2JA704483   2018 Land Rover      Range Rover Velar                     6104548
WBXHT3C32J5L33373   2018 BMW             X1                                    6104549
5N1DL0MM6LC528999   2020 Infiniti        QX60                                  6104550
WDD7X8KB7KA001866   2019 Mercedes‐Benz   AMG GT                                6104552
2C3CDXHG6MH531592   2021 Dodge           Charger                               6104553
2C3CDXHG1MH505823   2021 Dodge           Charger                               6104554
1C4SDJCT1MC574393   2021 Dodge           Durango                               6104555
1C4PJMDB3HW512178   2017 Jeep            Cherokee
WBA3T3C51G5A41943   2016 BMW             4 Series
WBA4J7C57KBM75468   2019 BMW             4 Series
5UXKR0C51J0X88387   2018 BMW             X5
1C4PJMLB0KD429828   2019 Jeep            Cherokee
ZN661XUAXHX252844   2017 Maserati        Levante
WBA8E5G56GNU21721   2016 BMW             3 Series
SALWR2RV8JA189351   2018 Land Rover      Range Rover Sport
JTJBARBZ9J2171144   2018 Lexus           NX
1FTEW1EF1GFB67420   2016 Ford            F‐150
WBAHN83588DT77672   2008 BMW             7 Series
1FTYR14E39PA15942   2009 Ford            Ranger
5N1BV28UX4N365724   2004 Nissan          Quest
5UXZV4C57CL889887   2012 BMW             X5
3GCPYFED9MG383394   2021 Chevrolet       Silverado 1500
1GYS4HKJ1LR164384   2020 Cadillac        Escalade ESV
1GNSKBKD9NR280798   2022 Chevrolet       Suburban
1GNSKBKD3PR116286   2023 Chevrolet       Suburban
1GNSKBKD9PR148675   2023 Chevrolet       Suburban
3GTU9CET8MG352840   2021 GMC             Sierra 1500
SALGS2KF4GA246777   2016 Land Rover      Range Rover
WBXHT3C3XH5F81562   2017 BMW             X1
SALYL2EX8KA220195   2019 Land Rover      Range Rover Velar
5UXWX9C50H0T04666   2017 BMW             X3
1FATP8UH1K5152260   2019 Ford            Mustang
2C4RDGBG4CR249331   2012 Dodge           Grand Caravan
1FM5K7B8XEGA63757   2014 Ford            Explorer
4JGAB74E1YA173539   2000 Mercedes‐Benz   M‐Class
JTJBT20X660124417   2006 Lexus           GX 470
WBXHT3C59K5L90009   2019 BMW             X1
WBA7F2C30HG423286   2017 BMW             7 Series
ZARFAEDN3J7575105   2018 Alfa Romeo      Giulia
1C4HJXFN5JW331845   2018 Jeep            Wrangler Unlimited
5YMTS0C02L9B09685   2020 BMW             X3 M
1C4RDHDG7JC438967   2018 Dodge           Durango
WA1D7AFP9GA019801   2016 Audi            Q5
JTHCK262672016812   2007 Lexus           IS 250
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WBA4W9C54KAF94021   2019 BMW             4 Series
1FAHP2KT8CG137030   2012 Ford            Taurus
5FNYF4H58EB056804   2014 Honda           Pilot
WDDGF4HB6DR268407   2013 Mercedes‐Benz   C‐Class
WA1LAAF75KD048863   2019 Audi            Q7
WA1B4AFY8L2087049   2020 Audi            SQ5
WA1LHAF72KD026699   2019 Audi            Q7
WA1LHAF72KD040991   2019 Audi            Q7
JTHG81F2XL5041909   2020 Lexus           IS
5TDBT44A84S221021   2004 Toyota          Sequoia
SALSH23489A203925   2009 Land Rover      Range Rover Sport
5UXUJ5C54K9A32646   2019 BMW             X4
WBAJB1C53KB375171   2019 BMW             5 Series
WA1LAAF77KD012026   2019 Audi            Q7
WA1LHAF75KD026082   2019 Audi            Q7
1C4SDJCT2MC520441   2021 Dodge           Durango
4JGFB4KB0LA194078   2020 Mercedes‐Benz   GLE
5UXTY9C06LLE59513   2020 BMW             X3
2FMEK63C89BA19931   2009 Ford            Flex
WA1LAAF73KD009818   2019 Audi            Q7
2C4RDGCG0KR788610   2019 Dodge           Grand Caravan
1FMEU74E57UA52487   2007 Ford            Explorer
WDBUF87X48B272857   2008 Mercedes‐Benz   E‐Class
ZASPAKBN0L7C92090   2020 Alfa Romeo      Stelvio
SALGW2SE6KA533297   2019 Land Rover      Range Rover
WP0AF2A74GL082172   2016 Porsche         Panamera
1FATP8UH6K5190020   2019 Ford            Mustang
WDDUG8GB4KA445850   2019 Mercedes‐Benz   S‐Class
1G1ZD5STXLF122021   2020 Chevrolet       Malibu
WBANB53507CP08338   2007 BMW             5 Series
WBAFU7C54BC879208   2011 BMW             5 Series
1G1105S35JU116841   2018 Chevrolet       Impala
WDDSJ4GB7JN508433   2018 Mercedes‐Benz   CLA
55SWF4KB0HU188660   2017 Mercedes‐Benz   C‐Class
WDDLJ9BBXGA169966   2016 Mercedes‐Benz   CLS
JN1BY1PR8FM830659   2015 Infiniti        Q70L
5NPEB4AC0DH635244   2013 Hyundai         Sonata
SALYB2EX4KA782114   2019 Land Rover      Range Rover Velar
SALYA2EX8KA791014   2019 Land Rover      Range Rover Velar
2T2ZZMCA6HC073637   2017 Lexus           RX
SALVP2RXXJH323156   2018 Land Rover      Range Rover Evoque
JN8AZ1MW1AW112694   2010 Nissan          Murano
WAUB4CF56JA083170   2018 Audi            S5 Sportback
1GYS4KKL8MR234494   2021 Cadillac        Escalade ESV
W1K7X6BB7LA016406   2020 Mercedes‐Benz   AMG GT
SALGS2RE3KA519794   2019 Land Rover      Range Rover
WAUP4AF5XJA095252   2018 Audi            S5 Coupe
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WDBUF56X99B373460   2009 Mercedes‐Benz   E‐Class
WBAKC8C56ACY68247   2010 BMW             7 Series
WA1KK78R59A048822   2009 Audi            Q5
3VW4T7AJ8HM312579   2017 Volkswagen      Jetta
1FM5K8D89EGA21518   2014 Ford            Explorer
ZAM57YTLXK1316469   2019 Maserati        Ghibli
55SWF4KB5GU101091   2016 Mercedes‐Benz   C‐Class
1C4RJFCT1FC653909   2015 Jeep            Grand Cherokee
WBA4E5C59HG188797   2017 BMW             4 Series
5GALVBED8AJ256342   2010 Buick           Enclave
WDDJK7DA4JF052861   2018 Mercedes‐Benz   SL
WA1C4AFY9L2045025   2020 Audi            SQ5
WP1AB2A23BLA47985   2011 Porsche         Cayenne
1C4RJFCG8KC788432   2019 Jeep            Grand Cherokee
4T1BZ1HK5JU014962   2018 Toyota          Camry
ZAM56RRAXG1187624   2016 Maserati        Quattroporte
WAUF2AFC3GN063552   2016 Audi            S6
WBAJE7C5XKWW08935   2019 BMW             5 Series
SALGS5SE6LA408198   2020 Land Rover      Range Rover
SCA666D53HU102728   2017 Rolls‐Royce     Dawn
1C4PJMDX3KD245817   2019 Jeep            Cherokee
55SWF4KB7JU273873   2018 Mercedes‐Benz   C‐Class
WBA2H9C36HV986948   2017 BMW             2 Series
ZAM57YTA4K1314330   2019 Maserati        Ghibli
WAUHGAFC5GN009650   2016 Audi            A6
WBA7F2C5XJB238313   2018 BMW             7 Series
WA1L2AFP0GA040272   2016 Audi            Q5
WBASP0C58DC988075   2013 BMW             5 Series Gran Turismo
SCFSMGAW1LGN03929   2020 Aston Martin    Vantage
7SAYGDEF2NF531053   2022 Tesla           Model Y
1FDWX37R38ED27725   2008 Ford            Super Duty F‐350 DRW
ZPBUA1ZL3KLA01428   2019 Lamborghini     Urus
WBS3U9C50FP967858   2015 BMW             M4
1FMCU9JD3HUD14412   2017 Ford            Escape
2C4RDGEG7GR384403   2016 Dodge           Grand Caravan
1C4PJMAK9CW133196   2012 Jeep            Liberty
4JGFF5KE3LA146109   2020 Mercedes‐Benz   GLS 450
WA1AAAF78KD002872   2019 Audi            Q7 Quattro Premium
1C4HJXFN3MW668101   2021 Jeep            Wrangler Unlimited
5J8YD4H38LL019056   2020 Acura           MDX
5XXGT4L39KG282398   2019 Kia             Optima
SALGV5RE3KA525460   2019 Land Rover      Range Rover Autobiography
SALYB2RX0JA770423   2018 Land Rover      Range Rover Velar
WA1LHAF74KD025148   2019 Audi            Quattro
WDDSJ4GB7KN725983   2019 Mercedes‐Benz   CLA 250 4MATIC
1GNSKBKD5NR360485   2022 Chevrolet       Suburban LS
5UXTR9C57KLE12580   2019 BMW             X3 Xdrive 30I
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WAUWGAFC8GN035733   2016 Audi            A7 Quattro Premium Plus
WBA8B7C55GK368800   2016 BMW             340I XDrive
1GNSKBKD1NR324812   2022 Chevrolet       Suburban LS
1GNSKHKC7GR178042   2016 Chevrolet       Suburban LT
1GYS4HKJ8LR109544   2020 Cadillac        Escalade ESV
SALVP2BG2GH078520   2016 Land Rover      Range Rover Evoque
SALYB2EX7LA248235   2020 Land Rover      Range Rover Velar
5UXKU2C53G0N83978   2016 BMW             X6 XDrive 35I
WA1B4AFYXK2139568   2019 Audi            SQ5 Quattro Premium Plus
WBA8B7C55JA572994   2018 BMW             340I XDrive
WBA8B7C56GK487293   2016 BMW             340I XDrive
WBA8B7C59JA411869   2018 BMW             340I XDrive
WAUB8GFF5G1107889   2016 Audi            A3 Quattro Premium
WDDWK4KB4HF441333   2017 Mercedes‐Benz   C300 4MATIC
SALGV2FE5HA328270   2017 Land Rover      Range Rover Autobiography
WBA4J7C51KBM76308   2019 BMW             440I XDrive Gran Coupe
1FTFW1E56JFD20487   2018 Ford            F‐150 Lariat
